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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA,                      :
                                               :
              Plaintiff,                       :
                                               :
       v.                                      :     Civil Action No. 19-0519
                                               :
SAFEHOUSE, a Pennsylvania nonprofit            :
corporation;                                   :
                                               :
JOSE BENITEZ, as President and                 :
Treasurer of Safehouse,                        :
                                               :
            Defendants.                        :
____________________________________           :
                                               :
SAFEHOUSE, a Pennsylvania nonprofit            :
corporation,                                   :
                                               :
              Counterclaim Plaintiff,          :
                                               :
       v.                                      :
                                               :
UNITED STATES OF AMERICA,                      :
                                               :
              Counterclaim Defendant,          :
                                               :
       and                                     :
                                               :
U.S. DEPARTMENT OF JUSTICE;                    :
MERRICK B. GARLAND, in his official            :
capacity as Attorney General of the United     :
States; and JENNIFER ARBITTIER                 :
WILLIAMS, in her official capacity as U.S.     :
Attorney for the Eastern District of           :
Pennsylvania,                                  :
                                               :
              Third-Party Defendants.          :


                                             ORDER
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       AND NOW, this               day of          , 2022, upon consideration of the United

States’ Motion to Modify Scheduling Order, and any opposition thereto, it is hereby ORDERED

that the Motion is Granted and:

       1.     The United States shall respond to Safehouse’s Amended Counterclaims for

Declaratory and Injunctive Relief by February 6, 2023, by way of answer and/or appropriate

Rule 12 motion.

       2.     Safehouse shall file any brief in opposition by March 6, 2023.

       3.     The United States shall file any reply by March 27, 2023.


                                                   BY THE COURT:


                                                   ____________________________________
                                                   GERALD A. McHUGH
                                                   United States District Judge
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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA,                    :
                                             :
              Plaintiff,                     :
                                             :
       v.                                    :   Civil Action No. 19-0519
                                             :
SAFEHOUSE, a Pennsylvania nonprofit          :
corporation;                                 :
                                             :
JOSE BENITEZ, as President and               :
Treasurer of Safehouse,                      :
                                             :
            Defendants.                      :
____________________________________         :
                                             :
SAFEHOUSE, a Pennsylvania nonprofit          :
corporation,                                 :
                                             :
              Counterclaim Plaintiff,        :
                                             :
       v.                                    :
                                             :
UNITED STATES OF AMERICA,                    :
                                             :
              Counterclaim Defendant,        :
                                             :
       and                                   :
                                             :
U.S. DEPARTMENT OF JUSTICE;                  :
MERRICK B. GARLAND, in his official          :
capacity as Attorney General of the United   :
States; and JENNIFER ARBITTIER               :
WILLIAMS, in her official capacity as U.S.   :
Attorney for the Eastern District of         :
Pennsylvania,                                :
                                             :
              Third-Party Defendants.        :
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           UNITED STATES’ MOTION TO MODIFY SCHEDULING ORDER


       The United States moves to modify the Court’s scheduling order, seeking additional time

to respond to Safehouse’s Amended Counterclaims for Declaratory and Injunctive Relief in order

for discussions about a possible amicable resolution to continue. The basis for this motion is set

forth in the accompanying memorandum of law, which is incorporated herein.

       WHEREFORE, the United States respectfully requests that the Court enter an order in the

form attached hereto.

       Dated: December 5, 2022                    Respectfully submitted,

                                                  BRIAN NETTER
                                                  Deputy Assistant Attorney General
                                                  Federal Programs Branch

                                                  JACQUELINE C. ROMERO
                                                  United States Attorney

                                                  /s/Gregory B. David
                                                  GREGORY B. DAVID
                                                  Assistant United States Attorney
                                                  Chief, Civil Division
                                                  Counsel for the United States
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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA,                    :
                                             :
              Plaintiff,                     :
                                             :
       v.                                    :   Civil Action No. 19-0519
                                             :
SAFEHOUSE, a Pennsylvania nonprofit          :
corporation;                                 :
                                             :
JOSE BENITEZ, as President and               :
Treasurer of Safehouse,                      :
                                             :
            Defendants.                      :
____________________________________         :
                                             :
SAFEHOUSE, a Pennsylvania nonprofit          :
corporation,                                 :
                                             :
              Counterclaim Plaintiff,        :
                                             :
       v.                                    :
                                             :
UNITED STATES OF AMERICA,                    :
                                             :
              Counterclaim Defendant,        :
                                             :
       and                                   :
                                             :
U.S. DEPARTMENT OF JUSTICE;                  :
MERRICK B. GARLAND, in his official          :
capacity as Attorney General of the United   :
States; and JENNIFER ARBITTIER               :
WILLIAMS, in her official capacity as U.S.   :
Attorney for the Eastern District of         :
Pennsylvania,                                :
                                             :
              Third-Party Defendants.        :

            UNITED STATES’ MEMORANDUM OF LAW IN SUPPORT OF ITS
                    MOTION TO MODIFY SCHEDULING ORDER
             Case 2:19-cv-00519-GAM Document 174 Filed 12/05/22 Page 6 of 8




           In order for discussions about a possible amicable resolution to continue, the United

States now moves for a two-month extension of time to respond to defendant Safehouse’s

Amended Counterclaims for Declaratory and Injunctive Relief. The current deadline is

December 5, 2022. Safehouse does not consent to this extension, which the government

maintains is necessary.

           Under the Federal Rules of Civil Procedure, the Court for good cause shown may modify

a scheduling order and enlarge the period of time for response to a pleading. In accordance with

Rule 6(b) and 16(b)(4) of the Federal Rules of Civil Procedure, good cause exists to grant the

United States’ motion for an extension of time.

           On February 4, 2022, the Department of Justice publicly stated that it is “evaluating

supervised consumption sites, including discussions with state and local regulators about

appropriate guardrails for such sites, as part of an overall approach to harm reduction and public

safety.” 1

           At a February 7, 2022 conference before the Court, the parties announced that

discussions were underway to explore a possible amicable resolution of this matter. At a more

recent conference on November 14, 2022, the United States provided an update to the Court.

The discussions to date, which have involved coordination among multiple constituencies

addressing a novel and complex subject matter, have been and continue to be productive.

The United States believes an additional two months are necessary to permit careful consideration

of the government’s harm reduction and public safety goals.




1
    https://thehill.com/policy/healthcare/593212-justice-department-to-evaluate-providing-safe-havens-for-drug-use.
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For the foregoing reasons, an additional two-month extension of time is warranted.


Dated: December 5, 2022                   Respectfully submitted,

                                          BRIAN NETTER
                                          Deputy Assistant Attorney General
                                          Federal Programs Branch

                                          JACQUELINE C. ROMERO
                                          United States Attorney

                                          /s/Gregory B. David
                                          GREGORY B. DAVID
                                          Assistant United States Attorney
                                          Chief, Civil Division
                                          Counsel for the United States
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                                CERTIFICATE OF SERVICE

       I hereby certify that, on this date, I caused a true and correct copy of the United States’

Motion to Modify Scheduling Order and accompanying memorandum of law, which was filed

electronically and is available for viewing and download from the court’s CM/ECF system, to be

served upon all counsel of record.




                                            /s/Gregory B. David
                                            GREGORY B. DAVID
                                            Assistant United States Attorney
                                            Chief, Civil Division


Dated: December 5, 2022
